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From:              John Pierce
To:                Floyd, Andrew (USADC)
Cc:                Rozzoni, Jennifer M. (USADC)
Subject:           [EXTERNAL] RE: Lucas Denney
Date:              Friday, February 4, 2022 1:43:38 PM


Just FYI, I left a VM for the Courtroom Deputy. But I looked on the docket and I am not seeing
anything saying there is a hearing on 2/7. So I just want to try to figure out if there is one and if so
the time and Zoom info. I will let you know if I hear back from her.

Thank you again!
John


From: John Pierce
Sent: Friday, February 4, 2022 12:34 PM
To: Floyd, Andrew (USADC) <Andrew.Floyd@usdoj.gov>
Cc: Rozzoni, Jennifer M. (USADC) <Jennifer.M.Rozzoni@usdoj.gov>
Subject: RE: Lucas Denney

Thanks Andrew and Jennifer really appreciate it. I think it is before Magistrate Judge Meriweather.
So just trying to nail down time of hearing and Zoom info.


From: Floyd, Andrew (USADC) <Andrew.Floyd@usdoj.gov>
Sent: Friday, February 4, 2022 12:20 PM
To: John Pierce <jpierce@piercebainbridge.com>
Cc: Rozzoni, Jennifer M. (USADC) <Jennifer.M.Rozzoni@usdoj.gov>
Subject: RE: Lucas Denney

Good afternoon Mr. Pierce,

AUSA Rozzoni, copied, is now assigned to this case and should be able to help you with questions
regarding Mr. Denney while AUSA Kearney is on leave.

Best,

Andrew

Andrew Floyd
Deputy Chief, Assault & Breach Unit
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555 4th Street NW
Washington, D.C. 20530
(202) 252-6841 (phone)
(202) 616-2476 (Fax)
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From: John Pierce <jpierce@piercebainbridge.com>
Sent: Friday, February 4, 2022 1:47 PM
To: Floyd, Andrew (USADC) <AFLOYD2@usa.doj.gov>
Subject: [EXTERNAL] Lucas Denney

Hi Andrew--


Benet is apparently out of office.


Do you have the time and Zoom info for the hearing Monday? Also, there seems to be some
confusion as to Mr. Denney's location. Do you know if he is in DC with everyone else, or is he in
Great Neck, Virginia?

Thx so much?
John

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